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                                           2619                         APRIL 16, 2025
                                                                  VIA ELECTRONIC PORTAL


                       UNITED STATES DISTRICT COURT
                        Eastern DISTRICT OF NEW YORK
                                        2019-cr-127
USA ,
Plaintiff,

v.
Lucio Celli.



MOTION TO COMPEL FINANCIAL DISCLOSURE AND REQUEST FORENSIC
AUDIT BASED ON JUDICIAL MISCONDUCT AND POLITICAL INFLUENCE IN
EMPLOYMENT MATTERS

COMES NOW Plaintiff, pro se, and respectfully moves this Court to:

     1. Compel full financial disclosure from Judges Engelmayer, Rearden, Wolfe,
        Livingston, AUSA Durham, and AUSA Smith;
     2. Appoint a neutral forensic accountant to conduct a financial and conflict-of-
        interest audit;
     3. Investigate improper political coordination between federal judges and U.S.
        Senators Chuck Schumer and Kirsten Gillibrand;
     4. Refer ethical and legal violations for review to the Judicial Council, Department of
        Justice, and Congressional Ethics Committees.
     5. Engelmayer took a bribe to cover up Randi’s involvement and to treat me like an
        animal who has no rights because Randi can buy any judicial decision that she
        wants because she is he king marker
     6. Egnelmayer helped Randi obtain employment decisions in pension, wages and etc
        over a penis pic and he is a petty little man who retaliates because Randi bribed
        Wolfe and Livingston



I. Grounds for Relief – Political Influence and Judicial Misconduct

Plaintiff alleges the following:
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   1. Randi Weingarten, a powerful union official, received judicially assisted
      employment decisions and legal protection as a result of undue
      influence from Senators Schumer and Gillibrand;
   2. Judges Engelmayer, Rearden, Wolfe, and Livingston are implicated in a pattern of
      decisions that:
          o Ignored binding facts and rulings favorable to Plaintiff;
          o Withheld restitution and medical access based on retaliatory motives;
          o Selectively applied relief to Weingarten while denying it to Plaintiff;
          o Operated under political pressure and external influence;
   3. Gratuitous use of union resources—in the form of staff, legal support, publicity,
      and undisclosed cash payments—were exchanged to protect Weingarten from
      accountability.

This conduct, if proven, violates:

   •   The Code of Conduct for U.S. Judges, particularly Canon 5: Judges shall not
       engage in political activity;
   •   18 U.S.C. § 201 (Bribery) and § 1346 (Honest Services Fraud);
   •   18 U.S.C. § 246, for obstructing Plaintiff’s access to federally supported benefits;
   •   Established precedents under Caperton v. Massey, McDonnell v. United States,
       and Dennis v. Sparks.



II. Financial and Political Conflicts – Request for Forensic Audit

Plaintiff requests a full and independent forensic audit to determine whether:

   •   Judges or staff received undisclosed gifts, campaign assistance, or benefits from
       Randi Weingarten or related entities;
   •   Union funds, offices, or influence were used as a “thing of value” to induce or
       maintain favorable treatment in litigation;
   •   Senators Schumer and Gillibrand engaged in backchannel communications or
       unethical conduct designed to pressure judicial officers for political or retaliatory
       purposes.

This audit is necessary to uncover any financial irregularities, unexplained deposits, or
conflict-related benefits, especially where cash bribes or free union resources were
involved—consistent with conduct found criminal in cases like United States v.
Seabrook, McDonnell, and Dennis.
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Everyone knows that there were no probable cause, they have evidence of Randi bribing
judges, and prevents the facts of Randi Weingarten’s criminal involvement in my case, like
Wolfe’s criminal conduct of switching transcript and Engelmayer covering up his
conspiracy with Randi, COgna and Kellman—there are audios that DOJ has so no excuses
and they need to be sanctioned



III. Relief Requested

Plaintiff respectfully requests that this Court:

   1. Compel public financial disclosures from Judges Engelmayer, Rearden, Wolfe,
      and Livingston, including assets, gifts, and honoraria;
   2. Appoint an independent forensic accountant to audit any financial records,
      communications, or transactions implicating undue influence;
   3. Order immediate recusal of implicated judges pending outcome of this
      investigation;
   4. Refer matters to the Judicial Council and DOJ Public Integrity Section;
   5. Grant such other and further relief as may be appropriate in the interests of justice
      and public confidence in judicial impartiality.



Respectfully submitted,
Lucio Celli




SUPPLEMENTAL MOTION TO COMPEL FINANCIAL DISCLOSURE AND
FORENSIC AUDIT BASED ON JUDICIAL MISCONDUCT, CONCEALMENT OF
EVIDENCE, AND POLITICAL INFLUENCE

COMES NOW Plaintiff, pro se, and respectfully moves this Court to:

   1. Compel full financial disclosure from Judges Engelmayer, Rearden, Wolfe, and
      Chief Judge Livingston;
   2. Wolfe took bribed to switch transcripts, steal 20k from parents, she and had her
      clerks cover the fact that I was denied every single right and over up over a illegal
   3. Appoint a neutral forensic accountant to investigate financial and political
      irregularities;
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   4. Investigate the concealment of evidence tied to Randi Weingarten’s alleged
      criminal conspiracy with Silverman, and political protection by Senators
      Schumer and Gillibrand;
   5. Refer ethical and legal violations to the appropriate judicial and federal authorities.



I. Overview of Misconduct – Kelly v. United States Standard

In Kelly v. United States, 140 S. Ct. 1565 (2020), the U.S. Supreme Court reaffirmed
that misuse of public authority for political retaliation or personal favors, even in non-
monetary contexts, is unconstitutional when it causes fraudulent misrepresentation or
obstruction of legitimate government functions.

Here, Plaintiff alleges that:

   •   Judges Engelmayer, Rearden, Wolfe, and Livingston engaged in selective rulings,
       suppression of key transcripts, and distortion of the factual record;
   •   These rulings were issued in concert with political pressure and served to protect
       Randi Weingarten, who received unjust legal advantage while Plaintiff was denied
       wages, benefits, and medical access;
   •   Randi Weingarten and attorney Thad Silverman engaged in criminal
       concealment of evidence and orchestrated false filings and omissions—with the
       full knowledge and support of these judicial actors;
   •   Plaintiff’s rights to due process, medical treatment, and fair adjudication were
       obstructed, creating a structural violation of justice consistent with Kelly, Caperton,
       and Dennis.



II. Specific Allegations of Concealment and Coordination

   1. Silverman’s communications were knowingly relied upon over valid court
      transcripts to mislead the court regarding probation compliance;
   2. Kellman admitted to collaborating with Judge Engelmayer in distorting Plaintiff’s
      case outcome;
   3. All four judges failed to act on this evidence and instead aided in concealing
      Randi Weingarten’s role in suppressing medical access, wages, and court
      orders;
   4. This judicial protection was politically motivated and potentially facilitated
      by financial favors, campaign support, or union resources, qualifying as “things
      of value” under McDonnell v. United States, 579 U.S. 550 (2016).
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III. Request for Audit and Accountability

Plaintiff requests:

   •   A court-appointed forensic accountant to audit financial ties, unexplained assets,
       and communications between the judges, union agents, and political actors;
   •   Immediate disclosure of gifts, donations, cash payments, or employment
       favors connected to Randi Weingarten or the United Federation of Teachers (UFT);
   •   Referral to DOJ and judicial oversight panels under 18 U.S.C. §§ 201, 246, and
       1346 (honest services fraud).



IV. Relief Requested

Plaintiff respectfully asks this Court to:

   1. Compel full financial disclosure from Judges Engelmayer, Rearden, Wolfe, and
      Livingston;
   2. Appoint a forensic accountant to review potential judicial corruption or political
      influence;
   3. Investigate and report any concealment of criminal acts involving Weingarten and
      Silverman;
   4. Vacate all rulings affected by this misconduct and consider sanctions, recusals,
      and criminal referral.

Respectfully submitted,
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Certificate of Service
I hereby certify that on [Date], a copy of the foregoing Motion to [Specify Relief Sought] was
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filing system to all parties indicated on the electronic filing receipt. Parties may access this
filing through the Court’s system.

[Attorney's Name]
